         Case 1:21-cr-00003-RCL Document 23 Filed 03/05/21 Page 1 of 2




                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : CASE NO. 21-CR-003 (RCL)
                                            :
JACOB ANTHONY CHANSLEY,                     :
     Defendant.                             :


                   SURREPLY TO DEFENDANT’S EMERGENCY
                      MOTION FOR PRE-TRIAL RELEASE

       The government now submits as a part of the record in this case two video exhibits—

Exhibit 1 and Exhibit 2—which will be provided to the Court and defense counsel via the USAfx

system. The Exhibits were referenced in today’s oral argument on the defendant’s motion for

pre-trial release. The government also referenced a media interview given by the defendant. That

interview was a part of the program 60 Minutes+, which aired on March 4, 2021, and can be

found at the following hyperlink: https://www.youtube.com/watch?v=osb7X6tAwpc.

       An analysis of the factors under 18 U.S.C. § 3142(g) demonstrates that the Defendant

should remain detained pending trial. As a result, the government respectfully opposes the

defendant’s motion for pre-trial release.




                                      Respectfully submitted,

                                      CHANNING D. PHILLIPS
                                      ACTING UNITED STATES
                                      ATTORNEY



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         Case 1:21-cr-00003-RCL Document 23 Filed 03/05/21 Page 2 of 2




                                         /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing opposition to the motion for release has been

served upon defense counsel, Al Watkins, by email and ECF/PACER notification, on this day,

March 5, 2021.


                                         /s/
                                      KIMBERLY L. PASCHALL
                                      Assistant United States Attorney




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